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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN DIV|S|ON

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t 3§§;‘€»§; §§"i(ii§~,
UN|TED STATES OF AMER|CA,
P|aintiff,
vs. Criminal No. 97-20190-Ma
KENNETH McMULLEN,

Defendant.

 

ORDER CONT|NU|NG HEAR|NG
FOR REASON THAT DEFENDANT
W|LL BE UNDERGOING MENTAL EVALUAT|ON

 

This cause came on to be heard this date, upon unopposed, oral motion of the
United States, and upon the entire record in this cause; and

lT SAT|SFACTORIL¥ APPEAR|NG TO THE COURT:

1. On l\/lay 27, 2005, the Court entered an order, pursuant to Title 18, United
States Code, Section 4243, remanding the Defendant to the custody of the Attorney
General, to be transported to the United States l\/ledical Center for Federal Prisoners in
Springfie|d, l\/lissouri, and to remain at said i\/ledica| Centerfora period not to exceed forty-
five days. Further that, during said period, psychiatric and psychological examinations
shall be conducted, regarding the Defendant, and a report thereafter filed with the Court

pursuant to Section 4247(b) and (c).

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2. Present|y, a hearing has been set by the Court for Wednesday, June 22,
2005. The psychological and psychiatric reports will be needed by the Court and parties
prior to the hearing in this matter.

3. The Defendant, nor the ordered mental examinations will be available for a
hearing on June 22, 2005.

4. Counsel for the Defendant, Apri| R. Goode, Assistant Federal Defender, is
currently out of town for the remainder of this week. Randolph A|den, Assistant Federal
Defender, has been informed about the above-referenced oral motion for a continuance
in this matter and has authorized the Government to state that there is no opposition on
behalf of the Defendant to said motion.

IT lS THEREFORE ORDERED:

That the hearing in this matter, presently set for Wednesday, June 22, 2005, is

hereby Continued to a new date Of il"hurec`iay, Auc_:;'ust; 153 , 2005 , at _10 : 00 a .m.

 

Further, that all time between June 22, 2005 and the new hearing date set by the Court is

excluded under the provisions of the Speedy Tria| Act.

ENTER THls '3 M\DAY oF JuNE, 2005.

wave

SAMUEL H. MAYS
United States Magistrate Judge

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:97-CR-20190 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

